          Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 1 of 8




                                                                               (212) 490-0400

                                                            January 17, 2020

Via ECF
Hon. Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

                                             Re:     Floyd v. City of New York, 08 Civ. 1034


Dear Judge Torres:

        On behalf of Plaintiffs in the above-entitled action, we write to respond to Defendant City
of New York’s December 20, 2019 filing, Dkt. #753-1, with respect to the Court-mandated
proposed plan (Floyd Dkt. #681-1, Davis Dkt. #444-1) for implementation of the Court-
appointed Facilitator’s Joint Remedial Process Reform Recommendation No. 1. Plaintiffs renew
their request to the Court for a hearing or status conference wherein the parties may discuss these
matters directly with the Court.

         While the City’s December 2019 submission does narrow some issues before the Court, it
also raises, or reignites, key concerns raised by the Plaintiffs throughout this briefing,
specifically around the need to strengthen the NYPD’s early intervention programs. The City
continues to resist meaningful early intervention by excluding important judicial decisions from
its review; by refusing to recognize the importance of leadership capacity at all levels within the
Department as a necessary part of early intervention; by rejecting outside expertise from early
intervention, even for purposes of enriching the relevant metrics; by failing to target the racial
discrimination inherent in the selective enforcement of the law; by refusing to consider peer
intervention models, such as the EPIC program, currently in operation in numerous police
departments; and by continuing to rely on arbitrary early intervention thresholds. Plaintiffs’

                                                1
              Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 2 of 8




updated Proposed Order, attached hereto, sets forth and reconciles our shared early intervention
priorities, which we maintain are necessary under Floyd court orders, with the evolution of
NYPD’s early intervention proposal.

         1.        Important Judicial Decisions Absent From Early Intervention Monitoring

        While the NYPD’s proposal does include judicial suppression decisions among its
review-triggering thresholds, it is not clear that the NYPD procedure catches all relevant
decisions involving NYPD officers, as required by the Court’s order. Specifically, the NYPD
proposal makes no mention of suppression decisions by the New York City Family Courts in
juvenile delinquency cases, or in child abuse and neglect cases, or in decisions by the New York
State Appellate Division reversing trial court denials of suppression motions. See, e.g., In re
Darryl C., 98 A.D.3d 69 (1st Dep’t 2012).

         2.        Without a Court Order, NYPD Will Not Respect Any External Expertise,
                   Even to Improve Upon its Indicators, Metrics, or Interventions

        As an initial matter, it appears that NYPD continues to defy this Court’s November 18,
2018 Order, which requires NYPD’s early intervention and RAILS proposals to systematically
assess and act on “judgments and settlements against police officers in civil cases where, in the
opinion of the New York City Law Department, there exists evidence of police malfeasance.”
Dkt. #662 (emphasis added). Instead, NYPD proposed alternatives that evade Law Department
oversight and avoid entering this information into RAILS in its prior briefing. Dkt. #729-1 at 6-
7.1 This is unacceptable. Not only does NYPD flagrantly disregard the Court’s order and the
Facilitator’s Recommendation, it also creates the asymmetric, non-aligned, and ineffective
monitoring thresholds for litigation discussed infra in Section 3 and frustrates leadership by
eliminating command-level review, discussed infra in Section 5.

        Beyond this, NYPD continues to reject any and all community, City, or other outside
expertise in its early intervention metrics or procedures, beyond that which is specifically
mandated by the Court. Although this case has established the importance of community
perspectives in police accountability, see Dkt. #373, Rem. Ord., at 29 (“If the reforms to stop and
frisk are not perceived as legitimate by those most affected, the reforms are unlikely to be
successful”), there is no consideration of community inclusion in determining standards for early
intervention. In addition, this means that NYPD rejects any and all involvement of the
community or law enforcement agencies in determining when early intervention may be
appropriate and in deterring misconduct. For example, the “bad cops” lists maintained by New
York City’s district attorneys2 offer an invaluable citywide resource, particularly for information


1
  Even if NYPD has decided to accept the jurisdiction of the Court and obey the Order, it still has not set forth a
clear and transparent plan to systematically receive, assess, and act on the City’s advice in its briefing thus far.
2
  Since Plaintiffs’ last filing, several of New York City’s district attorneys have publicly released these lists. See e.g.,
George Joseph, Brooklyn DA Releases Secret Lists Of Cops They Don't Trust, Gothamist (Nov. 6, 2019); John
Annese, Queens D.A. released list of 65 officers with credibility problems, following similar releases in Brooklyn
and the Bronx, N.Y. Daily News (Nov. 20, 2019); John Annese & Graham Rayman, Manhattan prosecutors release
list of cops with ‘adverse credibility’ issues in court testimony, N.Y. Daily News (Dec. 13, 2019).


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             Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 3 of 8




on officer credibility problems. Yet, NYPD has not even acknowledged this resource in its
briefing, despite notice from the Plaintiffs. See Dkt. #686 at n. 10.

        3.       NYPD’s Chosen Thresholds Frustrate Effective Early Intervention

        The City’s monitoring thresholds do not reflect genuine commitment to early
intervention, i.e., the intention to identify, intervene, and correct misconduct before it requires
disciplinary action, nor do they fully address the Facilitator’s recommendation or the Court’s
November 20, 2018 Order. Early intervention must course-correct and deter bad practices,
ensuring a culture of constitutionality. At heart, the NYPD’s proposal is little more than the
thresholds it maintains for monitoring and intervention. Any credible early intervention program
should not exclude the precise unconstitutional conduct that conferred liability to NYPD under
the Fourth and Fourteenth Amendments in this case, as is evident with respect to the thresholds
pertaining to pending cases, settlement amounts, biased policing complaints, and early settlement
units.

        With respect to triggers for racial discrimination and selective enforcement, early
intervention must target ongoing racial discrimination via selective enforcement of the law. See
Dkt. 744 at 5, 12-13. One important mechanism for identifying ongoing racial discrimination is
the analysis of declined prosecutions where officers are making arrests contrary to stated
prosecution policies or practices. NYPD claims that arrests made in contravention of district
attorneys’ stated policies with respect to marijuana or fare beats are not relevant to individual
officers’ conduct (and that prosecutors agree). But this narrow view fails to address the race-
based operation of selective enforcement in policing that was recognized and deemed
unconstitutional by the trial court. See Liab. Op., Dkt. #373 at 191-92. Considerable data and
recent reporting suggest this continues to be a valid concern.3 Yet NYPD continues to refuse to
consider categories of declinations of prosecution that are directly relevant to targeting unlawful
racial discrimination. It bears scrutiny that evident and pervasive racial disparities and ongoing
selective enforcement (widely acknowledged in reporting about policing) continues to be ignored
by NYPD as an important focus of early intervention.

        In addition, the NYPD’s recent iteration of its early intervention proposal still fails to
offer any basis or explanation for the litigation monitoring thresholds it sets forth. See Dkt.

3 See e.g., Martin Samoylov & Gersh Kuntzman, NYPD Targets Blacks and Latinos for ‘Jaywalking’ Tickets,
StreetsBlogNYC (Jan. 8, 2020) (90% of people stopped for jaywalking by NYPD are Black and Latinx, and over
half of jaywalking tickets were given in the Bronx); Priscilla DeGregory & Craig McCarthy, State AG probing
NYPD for ‘racial biases’ in fare-evasion crackdown, The New York Post (Jan. 13, 2020) (“People of color
accounted for almost 70 percent of summonses for fare evasion between October 2017 and June 2019 — and nearly
90 percent of arrests over the same time, NYPD data shows”); Kwame Opam, Tensions Over Subway Policing,
Race and ‘Arrest Quotas’, The New York Times (Dec. 9, 2019); David Brand, Nearly every single person arrested
for weed in NYC this year was Black or Latinx, Queens Daily Eagle (Aug. 21, 2019) (“Black and Latinx New
Yorkers accounted for 94 percent of all low-level marijuana arrests in New York City during the first six months of
the year, according to NYPD arrest data compiled by the state,” mirroring “persistent disparities in fare evasion
arrests.”); Benjamin Mueller, et al., Surest Way to Face Marijuana Charges in New York: Be Black or Hispanic, The
New York Times (May 13, 2018) (despite NYPD claim that racial disparity in marijuana arrests driven by local
complaints, “among neighborhoods where people called about marijuana at the same rate, the police almost always
made arrests at a higher rate in the area with more black residents”).


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           Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 4 of 8




#753-1 at 9-10. See also Dkt. #744 at 14-15, Dkt. #686 at 2-3 (Plaintiffs’ initial concerns relating
to this issue). For example, monitoring is triggered by six or more pending lawsuits, multiple
complaints or high value cash settlements exceeding $200,000, arbitrary thresholds that
disregard the trial court’s stated concern at the burden of filing CCRB complaints, let alone a
lawsuit. See Dkt. #744 at 11 (quoting the trial court mandate that monitoring must account for
the low likelihood of aggrieved individuals taking the time to file a complaint with CCRB).

         However, because financial settlements rely on quantifiable damages, bad stops and
trespass arrests rarely yield massive financial settlements even though, as this Court found, the
chronic stress of police intervention and racial profiling profoundly impacts Black and Latinx
New Yorkers. See Floyd Liability Op., Dkt. #373 at 6 (“No one should live in fear of being
stopped whenever he leaves his home to go about the activities of daily life….Some plaintiffs
testified that stops make them feel unwelcome in some parts of the City, and distrustful of the
police.”); See also, Geller A., Fagan J., et al., Aggressive policing and the mental health of young
urban men. 104 Am J Public Health 2321 (2014) (increased police stops consistently associated
with persistent “stigma,” “trauma,” “anxiety,” “depressive symptoms” for young urban men).

         Nor are NYPD’s thresholds set at levels supported by other relevant data.4 Many cases of
misconduct similar or identical to the Floyd, Davis, and Ligon cases (i.e., unconstitutionally
violative of the Fourth and Fourteenth Amendments) are resolved with cash settlements far less
than $200,000. . For example, an original named plaintiff in Davis, Anthony Anderson, settled
out of the class action for $75,000 in a Rule 68 settlement post-filing. See Davis Dkt. ##58, 69.
According to the complaint, he was arrested for trespassing after dropping off his niece in a
NYCHA building and incarcerated for almost two weeks. He lost his job and the trespass
charges were dismissed. Situations like these are ideal for early intervention, yet Mr. Anderson’s
situation would not trigger scrutiny under the current early intervention plan See also Ramirez v.
City of New York, 16-CV-4174 (S.D.N.Y. 2018) ($12,500 settlement after summary judgment
awarded in favor of plaintiff unconstitutionally stopped for five-minute warrant check by
NYPD). In fact, one database of federal filings against the NYPD for civil rights violations
(www.capstat.nyc) suggests that nearly all cases in the last five years focused primarily on
unconstitutional stops settle well below $200,000.5 Publicly available data, pursuant to NYC
Administrative Code § 7-114,6 depicts the civil rights litigation landscape relating to NYPD
misconduct: from fiscal year 2015 to 2019 (the latest available data), less than 1% (91 of 9,518)
of settled lawsuits involved a payment by the City of $200,000 or more. By contrast, 99% of all
4
  Plaintiffs may only speculate as to what analysis supports NYPD’s thresholds, but any metric determined by
averaging the amount of money paid out, rather than the types of misconduct suitable for early intervention, is
inadequate to satisfy the Facilitator’s Recommendation No. 1 and the Court’s November 2018 Order.
5
  See e.g., Jones v. City of New York et al., No. 15-CV-332 (E.D.N.Y.) ($3,500 settlement where refusal to provide
identification and attempt to leave led to arrest); Harris v. Thomas, 15-CV-4017 (SDNY) ($8,000 settlement where
individual leaving friend’s NYCHA apartment searched, arrested, and charged with criminal trespass); Rogers v.
Bisono, 15-CV-6670 (S.D.N.Y.) ($14,500 settlement where police searched and arrested man sitting on a public
bench for alleged consumption of alcohol in a public place, which was later dismissed and sealed.)
6
  From FY15-FY19, 19,449 filed lawsuits were pending against NYPD in New York City. 9,518 of these cases were
settled or disposed of with a financial payout by the City by the end of FY19. Cases involving bad stops, racial
profiling, or trespass in NYCHA or Clean Halls building are a subset of these. See NYPD Alleged Misconduct
Matters commenced in FY 2015-2019. All NYC Administrative Code § 7-114 data is available here:
https://www1.nyc.gov/site/law/public-resources/nyc-administrative-code-7-114.page


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           Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 5 of 8




lawsuits against NYPD (9,427 out of 9,518 settled cases) settled under $200,000. In the NYPD’s
proposal, 99% of all civil rights cases involving NYPD misconduct would trigger no scrutiny.

         It is unacceptable that NYPD’s high threshold for early intervention excludes virtually all
litigation focused on the precise conduct ruled unconstitutional in the Floyd, Davis, and Ligon
cases, including low-money judgments and settlements where the Law Department determined
there was evidence of officer malfeasance, which is a category of lawsuits the NYPD is
mandated to include and consider in its early intervention system. See Dkt #597 at 219; Dkt #662
at 2. As Plaintiffs have stated, monitoring and intervention thresholds should be set according to
an analysis of the prevalence of the misconduct; the metrics should reflect a target quantity of
deterrable officer misconduct to capture, e.g., a majority, rather than focusing on high monetary
settlements. See Dkt. #744 at 14-15; Dkt. #686 at 2-3. This was affirmed by the Facilitator in the
JRP Final Report. Dkt. #597 at 99.

       Similarly, citywide data pursuant to NYC Administrative Code § 7-114 reports
approximately 6195 unique police officer defendants in FY15-FY19 lawsuits. The City’s
determination to focus on officers with six or more cases within the last five years translates to
approximately 1948 officers, less than one-third of officers being sued for misconduct and, as
importantly. However, without a stated rationale or associated analysis, it also excludes an
additional 1791 officers facing four or five lawsuits in this period, officers equally ripe for
review and intervention.7

        In the same vein, the City’s early settlement unit within the Comptroller’s office is
dismissed by NYPD as irrelevant or lacking in information at the early stages. Dkt. #753-1 at 9.
Yet, even at the earliest stages, all relevant stop reporting, body camera video, and the nature of
the complaint being considered by the City are available for review. The City’s settlement with
Eric Garner’s estate, perhaps the most relevant and notable case in this category involved the
exact issues the Court referenced in Floyd, clear liability, and a significant cash settlement, but
would not trigger any monitoring or scrutiny under NYPD’s early intervention proposal. See also
Dkt. #744 at 6. The City’s actions to quickly settle claims to avoid press or other attention
deserves more consideration, not diminished regard, in the early intervention calculus within the
NYPD.

        Finally, it is clear that the review-triggering threshold for biased policing complaints, two
complaints in a 12-month period, is too high. This is particularly true given the importance this
Court has placed on eradicating racially-biased policing in the NYPD. Like the other metrics
discussed herein, the threshold should be set according to analyses that seek to capture and deter
potential racialized misconduct. As an initial matter, the threshold should be instead no lower
than two biased policing complaints in a 24-month period.


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  To be clear, the officers subject to review are described by NYPD as those “named or identified” in lawsuits.
These should, of course, include undercover officers who are not named, but are identified by number, in public
filings, and whose personnel information is under the control of NYPD as well as officers identifiable through
assignment date, description, and location.



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            Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 6 of 8




       4.      NYPD Thwarts Effective Early Intervention By Ignoring Leadership
               Capacity Building and a Systematic Approach

         Plaintiffs welcome the important involvement of NYPD executive leadership in early
intervention. But this alone cannot create the necessary capacity to effectively recognize, deter,
and prevent systemic misconduct. Instead, there must be commitment at every level of the
NYPD. Yet, NYPD has failed to incorporate this key principle of building leadership capacity at
every level into its design, even where minimal modifications would render important benefits.
For example, the current plan for executive level review involves a case-by-case review of
individual officers by an Early Intervention Committee (EIC) where the various thresholds
associated with RAILS are triggered. Dkt. #753-1 at 3. However, this sidesteps an important
capacity-building opportunity for leadership. The EIC should also review the leadership
responses to misconduct, i.e., evaluate the real-time responses by the commanding officers, team
leaders, line supervisors, and others who are proximate to the issue. Particularly in cases where
command notifications are issued, the EIC should seize a teachable moment with lower-level
leadership (who are responsive to their senior management) by determining what, if any,
command response ensued, its effectiveness, and the understanding of the commanding officers
with respect to their roles in early intervention and subsequently providing feedback to the
command. It is recommended that a more structured and well-articulated policy be developed
for this internal review by commanding officers and immediate supervisors

        In addition, despite notice, NYPD ignores practicable interventions employed by other
police departments and large organizations. See Dkt. #686 at 12-13, Dkt. #744 at 2. These
include leadership coaching and peer intervention programs that promote active bystander
accountability (like New Orleans’ EPIC program). Id. As previously noted, these have been
largely ignored by NYPD in the development of this proposal and throughout this briefing, see
Dkt. #744 at 3-4. If the Court is inclined to defer to NYPD’s intention to handle early
intervention on a case-by-case basis as set forth in its briefing, it is even more imperative for
executive interventions to be laser-focused on the quality and the capacity of leadership below
the executive level. This is particularly important given NYPD’s ongoing challenges with
ensuring supervision quality. See, e.g., Dkt. #744 at 3 (despite underreporting, supervisors caught
only 1.5-3% of bad stop reports from 4Q17 to 2Q18).

       5.      The NYPD’s Proposal Still Ignores Several Key Elements of the Facilitator’s
               Recommendation

        Finally, the NYPD’s proposal still fails to address several key elements of the
Facilitator’s Recommendation. For example, the Facilitator specified that the NYPD should
develop “a written policy with specific protocols . . . for entry into the RAILS network of
adverse civil litigation results” including “a denial of indemnification by the New York City Law
Department” and verdicts and settlements where it appears there was officer malfeasance. Dkt
#597 at 221.

        However, it appears from its most recent submission that the NYPD is no longer planning
to include this information in RAILS. See Dkt #753-1 at 5 n.11, 8-9. This is a significant
omission because, as the NYPD itself notes, “RAILS is an important tool that helps enable

                                                6
            Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 7 of 8




command level review” of at-risk officers by providing commanding officers with information
about indicators of possible at-risk behavior by officers in their command so that the
commanding officers can implement appropriate command-level early interventions when
necessary. Dkt. #729-1 at 3; # 753-1 at 4.8 Yet, under the process described in the NYPD’s latest
submission, commanding officers will only learn of adverse litigation information about their
subordinate officers if the Early Intervention Committee decides to take action in response to the
information. Dkt. #753-1 at 4. If the Committee decides not to take action, the subject officer’s
commanding officer will not receive the adverse information and thus not be able to consider it if
and when the commanding officer is deciding how to respond to similar problematic behavior by
the same officer in the future. Such information deficits can therefore seriously undermine the
effectiveness of command-level early interventions.

         Additionally, as Plaintiffs have noted in our previous submissions, the NYPD’s proposal
still provides no details on how, or even whether, any of the five categories of adverse
information listed in the Court’s November 20, 2018 Order are considered “in evaluations of
officers, transfer requests, disciplinary processes, and in discretionary promotional decisions,”
Dkt. #597 at 219-20; Dkt. #744 at 6. None of these categories of information appears in the
Officer Profile that serves as the basis of the quarterly officer performance evaluation system
approved by the Court, see Dkt. #562, Att. 2, nor do the NYPD’s original or revised early
intervention proposals to the Court articulate a process for ensuring that these categories of
information are provided to an officer’s immediate supervisor, who conducts the quarterly
officer performance evaluation of that officer. Similarly, none of the NYPD’s early intervention
submissions set forth a process for ensuring that these five categories of information are shared
with the Department Advocate’s Office so that they may be considered, along with the rest of an
officer’s employment history in the NYPD, when determining a disciplinary penalty for that
officer when he or she is the subject of a substantiated civilian misconduct complaint.

        Finally, the structured solution set forth by the Facilitator specifically criticized NYPD
“notice” systems based on transmittal of information alone, see Dkt. #744 at 12. Despite the fact
that the NYPD data systems have the ability to “speak” directly to DA and OCA data systems,9
the current proposal repeatedly cites to forms it will receive from various parties, rather than data
systems that will be fed into RAILS automatically and efficiently and, most importantly, subject
to review and analysis by the parties, the Monitor, the Court, and the public. A commitment to
early intervention requires the NYPD to develop robust mechanisms to collect data, analyze and
deter misconduct, and identify patterns and trends.




8 Such command-level interventions are critical because, as the NYPD correctly points out, “formal intervention is a
form of supervision, at its core, designed to mentor and coach an MOS so as to ensure that he or she is performing
his or her job in a way that scrupulously adheres to the legal, moral and ethical principles to which the Department
subscribes.” Dkt. #729-1 at 3.
9
  One example of this is the NYPD’s data repository called, the Online Prisoner Arraignment System (referred to as
“OLPA” or “zOLPA”). This NYPD data system collects, organizes, and maintains data related to arrests and is fed
automatically by data generated after the arrest is closed, including data from the district attorney’s office and the
courts (OCA).


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          Case 1:08-cv-01034-AT Document 755 Filed 01/17/20 Page 8 of 8




        Conclusion

        For the foregoing reasons, Plaintiffs ask this Court to set this matter for oral argument or,
in the alternative, to grant the relief requested herein, including signing the attached Proposed
Order, and ordering the City and NYPD to immediately incorporate all revisions raised in
Plaintiffs’ briefing into its RAILS and early intervention protocols.


                                                      Sincerely,


                                                      \s\ Dominique Day
                                                      Dominique Day
                                                      Jonathan C. Moore
                                                      Luna Droubi
                                                      Marc Arena

                                                      BELDOCK LEVINE & HOFFMAN LLP

                                                      Darius Charney
                                                      Guadalupe Aguirre

                                                      CENTER FOR CONSTITUTIONAL RIGHTS

                                                      On behalf of Floyd Plaintiffs


Encl.



cc:     all parties (via ECF)




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